        Case 19-32453-RG               Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                             Desc Imaged
                                            Certificate of Notice Page 1 of 13
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                        Certificate of Notice Page 2 of 13
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Case 19-32453-RG              Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                              Desc Imaged
                                   Certificate of Notice Page 4 of 13

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                                                            MTGLQ Invstors LP


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Case 19-32453-RG                Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                                                  Desc Imaged
                                     Certificate of Notice Page 5 of 13

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&UHGLWRU               &ROODWHUDORU7\SH          $UUHDUDJH                    ,QWHUHVW5DWHRQ         $PRXQWWREH3DLG         5HJXODU0RQWKO\
                        RI'HEW                                                   $UUHDUDJH                WR&UHGLWRU ,Q           3D\PHQW 2XWVLGH
                                                                                                             3ODQ                      3ODQ
MTGLQ Investors LP     308-310 Franklin              $18,000.00 Est.               0.00%                     $0.00                     $2,625.00 (to be paid
             Elizabeth, NJ
                       Street,                                                                                   
                                                                                                                                       directly to the creditor
                                                                                                                                      adequate
                                                                                                                                       as
                                                                                                                                       protection monthly
                                                                                                                                       payment during the
                                                                                                                                       loss mitigtion review)




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WKHSHWLWLRQGDWHDQGVHFXUHGE\DSXUFKDVHPRQH\VHFXULW\LQWHUHVWLQDQ\RWKHUWKLQJRIYDOXH

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                                  Certificate of Notice Page 6 of 13

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                            WKHDSSURSULDWHPRWLRQWREHILOHGXQGHU6HFWLRQRIWKH3ODQ


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                                                                                              &ROODWHUDO
Santander Bank     308-310         $22,000.00           $150,00.00     MTGLQ Investors LP     $300,000.00     0.00%            As per
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                   Franklin
                                                                              
                                                                                                                               Confirmed
                  Street,                                                                                                     plan as
                  Elizabeth, NJ                                                                                               general
                                                                                                                              unsecured
                                                                                                                              creditor ratio
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                                   Certificate of Notice Page 7 of 13

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                        Certificate of Notice Page 8 of 13
Case 19-32453-RG                  Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                               Desc Imaged
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&UHGLWRU          &ROODWHUDO            6FKHGXOHG       7RWDO        6XSHULRU/LHQV      9DOXHRI&UHGLWRU¶V        7RWDO$PRXQWRI
                                          'HEW            &ROODWHUDO                        ,QWHUHVWLQ                /LHQWREH
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Santander Bank     308-310                $22,000.00       $150,000.00   MTGLQ Investors LP   $300,000.00             $22,000.00
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                   Franklin Street,
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OLHQVRQFROODWHUDOFRQVLVWHQWZLWK3DUWDERYH


&UHGLWRU          &ROODWHUDO 6FKHGXOHG              7RWDO            $PRXQWWREH                     $PRXQWWREH
                               'HEW                   &ROODWHUDO       'HHPHG6HFXUHG                    5HFODVVLILHGDV8QVHFXUHG
                                                       9DOXH

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E3D\PHQW1RWLFHV
&UHGLWRUVDQG/HVVRUVSURYLGHGIRULQ3DUWVRUPD\FRQWLQXHWRPDLOFXVWRPDU\QRWLFHVRUFRXSRQVWRWKH
'HEWRUQRWZLWKVWDQGLQJWKHDXWRPDWLFVWD\

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Case 19-32453-RG                Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                             Desc Imaged
                                     Certificate of Notice Page 10 of 13

F2UGHURI'LVWULEXWLRQ
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                   General Unsecured Creditors

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 D LQWKHDPRXQWILOHGE\WKHSRVWSHWLWLRQFODLPDQW
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3DUW0RGLILFDWLRQ‫܆‬121(

,IWKLV3ODQPRGLILHVD3ODQSUHYLRXVO\ILOHGLQWKLVFDVHFRPSOHWHWKHLQIRUPDWLRQEHORZ
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1RQ6WDQGDUG3URYLVLRQV5HTXLULQJ6HSDUDWH6LJQDWXUHV

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                                  Certificate of Notice Page 11 of 13

6LJQDWXUHV


7KH'HEWRU V DQGWKHDWWRUQH\IRUWKH'HEWRU V LIDQ\PXVWVLJQWKLV3ODQ

%\VLJQLQJDQGILOLQJWKLVGRFXPHQWWKHGHEWRU V LIQRWUHSUHVHQWHGE\DQDWWRUQH\RUWKHDWWRUQH\IRUWKHGHEWRU V 
FHUWLI\WKDWWKHZRUGLQJDQGRUGHURIWKHSURYLVLRQVLQWKLV&KDSWHU3ODQDUHLGHQWLFDOWR/RFDO)RUPChapter 13 Plan
and MotionsRWKHUWKDQDQ\QRQVWDQGDUGSURYLVLRQVLQFOXGHGLQ3DUW

,FHUWLI\XQGHUSHQDOW\RISHUMXU\WKDWWKHDERYHLVWUXH


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      11/9/2019                                                         /s/ Sidulfo Lambert
                                                                        'HEWRU

'DWHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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      11/9/2019                                                         /s/ Antonio R Espinosa
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       Case 19-32453-RG               Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26                               Desc Imaged
                                           Certificate of Notice Page 12 of 13
                                               United States Bankruptcy Court
                                                  District of New Jersey
In re:                                                                                                     Case No. 19-32453-RG
Sidulfo Lambert                                                                                            Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0312-2                  User: admin                        Page 1 of 2                          Date Rcvd: Dec 02, 2019
                                      Form ID: pdf901                    Total Noticed: 24


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 04, 2019.
db             +Sidulfo Lambert,    310 Franklin Street,     Elizabeth, NJ 07206-1603
518595934      +American Water,    c/o Liberty Water Company,     P.O.Box 371852,    Pittsburgh, PA 15250-7852
518595935      +Atlantic Ambulance Corp,     P.O. Box 949,    Matawan, NJ 07747-0949
518595936     ++BANK OF AMERICA,    PO BOX 982238,    EL PASO TX 79998-2238
               (address filed with court: Bank Of America,       Po Box 982238,    El Paso, TX 79998)
518595937      +Deustsche Bank National Trust,     60 Wall Street,    New York, NY 10005-2858
518595938      +Deutsche Bank National Trust,     c/o Frenkel Lambert Weiss, et al,     80 Main Street,   Ste. 460,
                 West Orange, NJ 07052-5414
518595941      +Friedman Vartolo LLP,    1325 Franklin Avenue,     Garden City, NY 11530-1666
518595942      +GMAC Mortgage,    P.O. Box 4622,    Waterloo, IA 50704-4622
518595943      +HSBC Mortgage,    Attn: Bankruptcy Section,     P.O. Box 9068,    Brandon, FL 33509-9068
518595944      +Jpmcb Card,    Po Box 15298,    Wilmington, DE 19850-5298
518595946      +MTGLQ Investors LP,    200 W Street,    New York, NY 10282-2102
518595947      +New Jersey Lenders Corp,     Attn: Bankruptcy Section,    219 Paterson Avenue,
                 Little Falls, NJ 07424-4600
518595950      +PSE&G Co,   P.O. Box 14444,     New Brunswick, NJ 08906-4444
518595949       Patricia Lambert,    202 Halsted Road,     Orocovis, PR 00720-8000
518595948      +Patricia Lambert,    202 Halsted Road,     Elizabeth, NJ 07208-1116
518595951      +Santander Bank,    865 Brook Street,    Rocky Hill, CT 06067-3444
518595952      +Sears/cbna,    Po Box 6217,    Sioux Falls, SD 57117-6217
518595953      +Trinitas Emergency Solution,     c/o Amerifinancial Solution,     P.O. Box 602570,
                 Charlotte, NC 28260-2570
518595956      +Wells Fargo Home Mortgage,     Attn: Bankrupcty Section,    P.O. Box 10335,
                 Des Moines, IA 50306-0335

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg             E-mail/Text: usanj.njbankr@usdoj.gov Dec 02 2019 23:03:37      U.S. Attorney,    970 Broad St.,
                 Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2534
smg            +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov Dec 02 2019 23:03:37      United States Trustee,
                 Office of the United States Trustee,    1085 Raymond Blvd.,   One Newark Center,    Suite 2100,
                 Newark, NJ 07102-5235
518595939      +E-mail/Text: mrdiscen@discover.com Dec 02 2019 23:03:28      Discover Fin Svcs Llc,    Pob 15316,
                 Wilmington, DE 19850-5316
518595945      +E-mail/PDF: resurgentbknotifications@resurgent.com Dec 02 2019 23:10:04
                 Lvnv Funding Llc - Credit One Bank,    C/o Resurgent Capital Services,   P.O. Box 10584,
                 Greenville, SC 29603-0584
518595954      +E-mail/Text: wfmelectronicbankruptcynotifications@verizonwireless.com Dec 02 2019 23:02:58
                 Verizon,   500 Technology Dr,   Weldon Spring, MO 63304-2225
                                                                                              TOTAL: 5

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
518595940*    ++BANK OF AMERICA,   PO BOX 982238,   EL PASO TX 79998-2238
               (address filed with court: Fia Card Services,    Po Box 982238,                        El Paso, TX 79998)
518595955*     +Verizon,   500 Technology Dr,   Weldon Spring, MO 63304-2225
                                                                                                                    TOTALS: 0, * 2, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 04, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
     Case 19-32453-RG         Doc 10 Filed 12/04/19 Entered 12/05/19 00:38:26              Desc Imaged
                                   Certificate of Notice Page 13 of 13


District/off: 0312-2         User: admin                 Page 2 of 2                   Date Rcvd: Dec 02, 2019
                             Form ID: pdf901             Total Noticed: 24


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 1, 2019 at the address(es) listed below:
              Antonio R. Espinosa   on behalf of Debtor Sidulfo Lambert Andespbk@gmail.com
              U.S. Trustee   USTPRegion03.NE.ECF@usdoj.gov
                                                                                            TOTAL: 2
